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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

ROBERT SULLIVAN,                                 )
                                                 )
               Plaintiff,                        )
                                                 )
        v.                                       )
                                                 )
EXPERIAN INFORMATION                             )   Civil Action No. 16-cv-11719-MLW
SOLUTIONS, INC., RUSHMORE LOAN                   )
MANAGEMENT SERVICES, LLC,                        )
SELENE FINANCE, LP, and DOES 1 to                )
10 inclusive,                                    )
                                                 )
               Defendants.                       )

                                  NOTICE OF SETTLEMENT

        Defendant Experian Information Solutions, Inc. (“Experian”), by and through its

undersigned counsel, hereby notifies the Court that the it has reached a settlement with Plaintiff,

Robert Sullivan (“Plaintiff”) (hereinafter Plaintiff with Experian referred to as the “Parties”) in

the above-referenced matter. The Parties are in the process of finalizing the settlement,

whereupon Plaintiff will file a Notice of Dismissal with Prejudice. The Parties anticipate that the

settlement and dismissal of claims against Experian will be finalized within the next sixty (60)

days.
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Dated: October 18, 2017                          Respectfully submitted,



                                                 /s/ Laura Diss Gradel
                                                 Laura Diss Gradel (BBO# 692315
                                                 JONES DAY
                                                 100 High Street, 21st Floor
                                                 Boston, MA 02110
                                                 617-449-6894 (telephone)
                                                 617-449-6999 (facsimile)
                                                 lgradel@jonesday.com

                                                 Attorney for Defendant
                                                 Experian Information Solutions, Inc.




                                CERTIFICATE OF SERVICE

       I, Laura Diss Gradel, hereby certify that a true copy of the foregoing document filed

through the ECF system will be electronically sent to the registered participants as identified on

the Notice of Electronic Filing and paper copies will be sent to those indicated as non-registered

participants on October 18, 2017.




                                                    /s/ Laura Diss Gradel
                                                    Laura Diss Gradel




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